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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 In Re: COOK MEDICAL, INC., IVC              )
 FILTER MARKETING, SALES                     ) 1:14-ml-02570-RLY-TAB
 PRACTICES AND PRODUCT                       ) MDL No. 2570
 LIABILITY LITIGATION                        )
                                             )
                                             )
 This Document Relates to:                   )

1:18-cv-03644; 1:19-cv-01576; 1:19-cv-01607; 1:19-cv-01689;
1:19-cv-01995; 1:19-cv-01997; 1:19-cv-02022; 1:19-cv-02026;
1:19-cv-02027; 1:19-cv-02029; 1:19-cv-02031; 1:19-cv-02033;
1:19-cv-02077; 1:19-cv-02099; 1:19-cv-02102; 1:19-cv-02119;
1:19-cv-02143; 1:19-cv-02145; 1:19-cv-02149; 1:19-cv-02151;
1:19-cv-02153; 1:19-cv-02186; 1:19-cv-02193; 1:19-cv-02194;
1:19-cv-02197; 1:19-cv-02215; 1:19-cv-02289; 1:19-cv-02297;
1:19-cv-02298; 1:19-cv-02356; 1:19-cv-02379; 1:19-cv-02380;
1:19-cv-02425; 1:19-cv-02136; 1:19-cv-02238.


    ORDER ON (DKT. 11501) THE COOK DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 41(b) and Third Amended Case Management

Order No. 4, Cook Incorporated, Cook Medical LLC, f/k/a Cook Medical Incorporated, and

William Cook Europe ApS (collectively “Cook”), request that the court dismiss those cases in

which a completed Plaintiff Profile Sheet (“PPS”) has not been submitted.

       Accordingly, Cook’s Motion to Dismiss is GRANTED as to the following cases:

       1.      Henry, Rowena                       1:19-cv-01607

       2.      Davis, Anthony Jr.                  1:19-cv-01997

       3.      Hosanna, Barbara                    1:19-cv-02026

       4.      Massengill, Mildred                 1:19-cv-02102

       5.      Hendryx, Debbie Parker              1:19-cv-02119

       6.      McFarlane, Kenneth and Leah         1:19-cv-02149

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       7.      Bright, Mary                      1:19-cv-02153

       8.      Wagner, Christopher                1:19-cv-02289

       9.      Bassett, William                  1:19-cv-02379

       The following cases have submitted a Plaintiff Profile Sheet after the Cook Defendants

filed the Motion; therefore, the Cook Defendants’ Motion is DENIED AS MOOT for these cases:

       1.     Rachynska, Svetlana                1:18-cv-03644

       2.     Goehring, Sherry M. and Thomas     1:19-cv-01576

       3.     Tinsley, Paul                      1:19-cv-01689

       4.     DiBattista, Anthony                 1:19-cv-01995
              and Silverstone, Susan

       5.     Julien, Anthony                    1:19-cv-02022

       6.     Martin, Carl                       1:19-cv-02027

       7.     Hogan, Carlton and Lela            1:19-cv-02029

       8.     Hanners, Cynthia and Dustin        1:19-cv-02031

       9.     Rushton, Darlene                   1:19-cv-02033

       10.    Holst, Sara                        1:19-cv-02077

       11.    Bender, Andrew                     1:19-cv-02099

       12.    Webb, Joyce                        1:19-cv-02143

       13.    Swope, Kathryn and John             1:19-cv-02145

       14.    Aragon, Lilian                     1:19-cv-02151

       15.    Schonbeck, Monika                  1:19-cv-02186

       16.    Howell, Paul Richard               1:19-cv-02193

       17.    Maisonet, Petra [ESTATE OF]         1:19-cv-02194

       18.    Williams, Ricky and Helen          1:19-cv-02197

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       19.     Robinson, Kimberly                      1:19-cv-02215

       20.     Carlgren, Ronald and Tammy              1:19-cv-02297

       21.     Dube, Nancy                             1:19-cv-02298

       22.     Hicks, Linda F. and Charles             1:19-cv-02356

       23.     Cox, Timothy                            1:19-cv-02380

       24.     Corsino, Juan                           1:19-cv-02425

       25.     Perez, Jesusa Gonzalez                  1:19-v-02136

       26.     Carson, William                         1:19-v-02238



All parties shall bear their own fees and costs.


SO ORDERED this 4th day of September, 2019.



                                                       _________________________________
                                                       RICHARD L. YOUNG, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana

Distribution to all electronically registered counsel of record via CM/ECF.




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